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                                     UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF TEXAS
                                           EL PASO DIVISION

    LUZ OFELIA MLETZKO,                                       §
      Plaintiff,                                              §
                                                              §
    v.                                                        §
                                                              §              CASE NO. 3:20-CV-00205
    STEPHANIE BROOKE DAILEY,                                  §
    ADVANCE AUTO PARTS, AND                                   §
    GEICO COUNTY MUTUAL                                       §
    INSURANCE COMPANY,                                        §
      Defendants.                                             §

                                              NOTICE OF REMOVAL

           NOW INTO COURT, through undersigned counsel, comes Defendant Stephanie Brooke

Dailey who respectfully removes this action from the County Court at Law Number 3 of El Paso

County, Texas, to the United States District Court for the Western District of Texas, pursuant to

Title 28, U.S. Code on the basis of diversity of citizenship. In support of this Notice of Removal,

Defendant states as follows:

                                     I.        THE STATE COURT ACTION

           1.         On May 11, 2020, Plaintiff Luz Ofelia Mletzko filed a petition in the County Court

at Law Number 3 of El Paso County, Texas, bearing Cause No. 2020-DCV-1548 and entitled:

“Luz Ofelia Mletzko v. Stephanie Brooke Dailey, Advance Auto Parts and GEICO County Mutual

Insurance Company.”

           2.         In her Original Petition, Plaintiff seeks damages relating to personal injuries she

allegedly sustained as a result of an automobile accident in El Paso County.1 Plaintiff alleges that

the accident was caused by Defendant Stephanie Brooke Dailey (“Dailey”).2 Plaintiff further



1
    See Plaintiff’s Original Petition at ¶ 7 and 8, attached as Exhibit 1.
2
    See Exhibit 1 at ¶ 8.

_____________________________________________________________________________________
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alleges that Defendant Advance Auto Parts, Inc.3 (“Advance”) “knowingly caused a motor vehicle

to be operated by an unlicensed and unskilled driver,” though Plaintiff fails to allege the existence

of any relationship between Dailey and Advance.4 Plaintiff appears to be asserting a negligence

cause of action against both Dailey and Advance. Plaintiff also named her own insurance

company, GEICO County Mutual Insurance Company (“GEICO”), as a Defendant.5 Plaintiff does

not assert a cause of action against GEICO, but rather, states that she is making a claim for under-

insured motorist benefits under her insurance policy with GEICO.6

         3.      GEICO filed its Original Answer in the County Court at Law Number 3 of El Paso

County on June 8, 2020.

         4.      Dailey timely filed her Original Answer, pro se, in the County Court at Law

Number 3 of El Paso County on June 19, 2020. Attorneys Matthew T. McLain and Emily P.

Hollenbeck of Litchfield Cavo entered an appearance and filed a First Amended Answer on behalf

of Ms. Dailey on June 29, 2020.7

         5.      Advance filed its Original Answer in the County Court at Law Number 3 of El Paso

County on July 9, 2020.8

                     II.      REMOVAL IS TIMELY UNDER 28 U.S.C. §1446

         6.      Dailey received the citation and Plaintiff’s Original Petition in this case on June 11,

2020.9




3
  Incorrectly named by Plaintiff as Advanced Auto Parts.
4
  See Exhibit 1 at ¶ 12.
5
  See id. at ¶ 9.
6
  See id.
7
  See file-marked copy of Notice of Appearance, attached hereto as Exhibit 2, and file-marked copy of Defendant
Stephanie Brooke Dailey’s First Amended Answer, attached hereto as Exhibit 3.
8
  See file-marked copy of Defendant Advance Auto Parts, Inc.’s Original Answer, attached hereto as Exhibit 4.
9
  See Return of Service, attached hereto as Exhibit 5.

_____________________________________________________________________________________
Notice of Removal                                                                                    Page 2 of 7
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            7.       This matter is being removed within 30 days of the receipt by Dailey of notice of

the claims against her.

                               III.   THIS COURT HAS JURISDICTION

            8.       This suit is an action in which this Court has original jurisdiction under 28 U.S.C.

§1332, as it is an action between citizens of different states, and the amount in controversy exceeds

$75,000.00, exclusive of interest and costs. Thus, this action may be removed to this Court

pursuant to the provisions of 28 U.S.C. §1441.

            9.       According to her Original Petition, Plaintiff Luz Ofelia Mletzko resides in El Paso

County, Texas.10

            10.      Defendant Stephanie Dailey was, at the time the state court petition was filed, and

still is, a citizen of the State of Tennessee. She resides at 263 White Oak Rd, Apt. D, Clarksville,

Tennessee 37040-8669 and has resided there since December of 2019. Dailey was not at the time

this action was instituted against her, and still is not, a citizen of Texas.

            11.      Defendant Advance Auto Parts, Inc. was, at the time the state court petition was

filed, and still is, a citizen of North Carolina and Delaware because it is a corporation incorporated

under the laws of the State of Delaware with is principal place of business in North Carolina.

Advance Auto Parts, Inc. was not at the time this action was instituted against it, and still is not, a

citizen of the State of Texas.

            12.      GEICO County Mutual Insurance Company was, at the time the state court petition

was filed, and still is a citizen of Maryland and Texas because it is a corporation incorporated

under the laws of the State of Maryland, with its principal place of business in Texas. With respect

to Plaintiff’s purported claim against GEICO, Advance asserts that its citizenship can be



10
     See Exhibit 1 at ¶ 2.

_____________________________________________________________________________________
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disregarded for purposes of determining diversity jurisdiction as GEICO has been fraudulently

joined in this action because Plaintiff fails state a claim against GEICO and fails to allege facts

that would support any potential cause of action against GEICO. When fraudulent joinder is

asserted, the Court must “pierce the pleadings” to determine whether a cause of action grounded

in fact exists.11

        13.         The removing party bears the burden of proving that any non-diverse defendants

have been fraudulently joined to defeat diversity, either by showing: (1) “outright fraud in the

plaintiff's recitation of jurisdictional facts”; or (2) that “there is absolutely no possibility that the

plaintiff will be able to establish a cause of action against the in-state defendant in state court.”12

This case involves the second prong of that test.

        14.         Plaintiff fails to state a claim against GEICO. In her Original Petition, Plaintiff

alleges that she has an insurance policy with GEICO that provides for under-insured motorist

(“UIM”) benefits. Plaintiff then states that she “hereby makes a claim for [those] benefits”13

Notably, the section of Plaintiff’s Original Petition entitled “Cause of Action” is devoid of any

reference to GEICO.

        15.         Plaintiff does not allege anywhere in her Original Petition that she has established

that she is owed UIM benefits and that GEICO breached its contract by failing to pay those

benefits. Further, Plaintiff’s petition is devoid of any allegation that Dailey or Advance lack

insurance or are underinsured. Simply making a claim for benefits under an insurance policy is

not a cause of action. Plaintiff’s Original Petition, on its face, fails to state a legally recognizable

cause of action under Texas law against GEICO.


11
   Carriere v. Sears, Roebuck & Co., 893 F.2d 98, 100 (5th Cir. 1990), cert. denied, 498 U.S. 817 (1990).
12
   Rodriguez v. Sabatino, 120 F.3d 589, 591 (5th Cir. 1997)(quoting Burden v. Gen. Dynamics Corp., 60 F.3d 213,
217 (5th Cir. 1995) and Cavallini v. State Farm Mut. Auto Ins. Co., 44 F.3d 256, 259 (5th Cir. 1995)).
13
   See Exhibit 1 at ¶ 9.

_____________________________________________________________________________________
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         16.     Plaintiff failed to plead facts sufficient to establish her legal entitlement to recover

UIM benefits. Further, any potential future claim against GEICO for UIM benefits is not ripe.

Thus, the court lacks subject matter jurisdiction to consider such a claim because a court has no

power to decide disputes that are not yet justiciable.14 To be legally entitled to recover benefits

under a UIM insurance policy, an insured must establish the liability of an uninsured/underinsured

motorist and the extent of damages.15 UIM coverage, or the receipt of benefits, is “conditioned

upon the insured’s legal entitlement to receive damages from a third party.”16 The insured must

obtain a judgment establishing liability and the underinsured status of the alleged tortfeasor.17 In

other words, GEICO’s contractual duty to pay UIM benefits to Plaintiff does not arise until

Plaintiff obtains a judgment establishing liability, damages, and the underinsured status of a third

party.   Plaintiff has not alleged in her Original Petition that she has obtained a judgment

establishing liability against a tortfeasor and was awarded damages. Furthermore, Plaintiff has not

alleged that there was insufficient coverage by the alleged tortfeasors or that either Dailey or

Advance were underinsured.             “Neither requesting UIM benefits nor filing suit triggers a

contractual duty to pay.”18 Thus, Plaintiff does not currently have any justiciable claim against

GEICO. Further, Defendants Dailey and Advance have sufficient insurance coverage for the

damages alleged by Plaintiff.

         17.     Because GEICO is not a properly joined defendant, its consent to removal is not

required.19



14
   Lopez v. City of Houston, 617 F.3d 336, 341 (5th Cir. 2010).
15
   Brainard v. Trinity Universal Insurance Co., 216 S.W.3d 809, 818 (Tex. 2006); see also Ibarra v. Allstate Fire
and Casualty Insurance Company, No. SA:20-CV-00280-JKP (W.D. Tex. June 16, 2020).
16
   Brainard at 818.
17
   Id.
18
   Id.
19
   Jernigan v. Ashland Oil Inc., 989 F.2d 812, 815 (5th Cir. 1993); Irma Blas v. Rosen, DR-18-CV-66-AM, 2019
WL 5199284, at *2 (W.D. Tex. July 16, 2019).

_____________________________________________________________________________________
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        18.      Advance Auto Parts, Inc. consents to the removal of this action from state court.20

        19.      Plaintiff seeks monetary relief of over $1,000,000.00.21 Because there is complete

diversity between Plaintiff and the properly joined defendants and because the amount in

controversy exceeds $75,000 exclusive of interest and costs, removal is appropriate pursuant to 28

U.S.C. §1332.

        20.      Dailey files this Notice of Removal within 30 days of June 11, 2020, the date that

Dailey first received a copy of Plaintiff’s Original Petition.

        21.      This Court embraces the locality in which the state court action is now pending and,

thus, is a proper forum for this action pursuant to 28 U.S.C. §1441(a).

        22.      In accordance with 28 U.S.C. §1446(d), a copy of this Notice of Removal is being

served on all adverse parties.

        23.      As required by 28 U.S. § 1446(d), a copy of this notice will be filed with the clerk

of the County Court at Law Number 3 of El Paso County, Texas.22

        24.      If any question arises regarding the propriety of removal, Dailey respectfully

requests that she be provided the opportunity to present a brief and/or oral argument in support of

her position that this case is removable.

        WHEREFORE, Defendant, Stephanie Dailey removes this action, pursuant to 28 U.S.C.

§1332, 28 U.S.C. §1441 and 28 U.S.C. §1446, from the County Court at Law Number 3 of El Paso

County, Texas to this Honorable Court on this the 11th day of July 2020.




20
   See Advance Auto Parts, Inc.’s Consent to Removal, attached hereto as Exhibit 6.
21
   See Exhibit 1 at ¶ 14.
22
   See Notice to State Court of Removal, attached as Exhibit 7.

_____________________________________________________________________________________
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                                             Respectfully submitted,


                                              /s/ S. Jan Hueber
                                             Matthew T. McLain (motion for pro hac admission
                                             to be filed)
                                             Texas Bar No. 24046401
                                             mclain@litchfieldcavo.com
                                             S. Jan Hueber
                                             Texas Bar No. 20331150
                                             hueber@litchfieldcavo.com
                                             Emily P. Hollenbeck (motion for pro hac admission
                                             to be filed)
                                             Texas Bar No. 24062786
                                             hollenbeck@litchfieldcavo.com

                                             LITCHFIELD CAVO, LLP
                                             100 Throckmorton St., Ste. 500
                                             Fort Worth, Texas 76102
                                             (817) 945-8025 (P)
                                             (817) 753-3232 (F)

                                             ATTORNEYS FOR DEFENDANT
                                             STEPHANIE BROOKE DAILEY


                                   CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument was served on this

the 11th day of July 2020, on all counsel of record, in accordance with the Federal Rules of Civil

Procedure.


                                                      /s/ S. Jan Hueber
                                                     Counsel for Defendant Stephanie Brooke
                                                     Dailey




_____________________________________________________________________________________
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                      EXHIBIT 1
                        Caseat3:20-cv-00205-DB
El Paso County - County Court  Law 3                 Document 1 Filed 07/11/20 Page 9Filed
                                                                                       of 35
                                                                                           5/11/2020 12:00 AM
                                                                                                   Norma Favela Barceleau
                                                                                                              District Clerk
                                                                                                           El Paso County
                                                                                                           2020DCV1548
                                   IN THE _________ JUDICIAL DISTRICT COURT
                                   COUNTY COURT AT LAW NUMBER __________
                                            EL PASO COUNTY, TEXAS
           LUZ OFELIA MLETZKO,                §
                                              §
                                              §
                 PLAINTIFF,                   §
                                              §
           VS.                                § CAUSE NO.: __________
                                              §
           STEPHANIE BROOKE DAILEY, ADVANCE   §
           AUTO PARTS AND GEICO COUNTY MUTUAL §
           INSURANCE COMPANY,                 §
                                              §
                 DEFENDANTS.                  §


                                            PLAINTIFF’S ORIGINAL PETITION

                    COMES NOW, LUZ OFELIA MLETZKO, Plaintiff in the above styled and numbered cause, by

           and through her attorney of record, JAMES B. KENNEDY, JR. of JAMES KENNEDY, P.L.L.C., and files

           this, PLAINTIFF’S ORIGINAL PETITION, and for cause of action would show the court the following:

                                                DISCOVERY CONTROL PLAN
                    1.       Discovery will be conducted under Level III pursuant to Rule §190.4 of the TEXAS

                    RULES OF CIVIL PROCEDURE.

                                                 PARTIES TO THIS ACTION
                    2.       Plaintiff resides in El Paso County, Texas.

                    3.       Defendant Stephanie Brooke Dailey is an individual who resides and may be served

                    with process at 4554 Hercules #45, El Paso, Texas 79904 or anywhere they may be found.

                    4.       Defendant Advanced Auto Parts is a North Carolina Corporation doing regular and

                    systematic business in the State of Texas. Said Defendant may be served by serving its

                    registered agent Tammy M Finley at 5008 Airport Rd NW, Roanoke, VA 24012-1601 or

                    anywhere they may be found.

                    5.       Defendant GEICO County Mutual Insurance Company is a Texas Corporation doing

           PLAINTIFF’S ORIGINAL PETITION
           PAGE 1 OF 5
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         regular and systematic business in the State of Texas. Said Defendant may be served by

         serving its registered agent Dan Beacom at 2280 N. Greenville Ave., Richardson, Texas

         75082-4412 or anywhere they may be found.

                                      JURISDICTION AND VENUE
         6.       Venue is proper in El Paso County, Texas because the defendant individual resides

         in El Paso County, Texas.

         7.       Furthermore, venue is proper in El Paso County, Texas because the incident that

         makes the basis of this lawsuit occurred in El Paso County, Texas.

                                                FACTS
         8.       On or about August 27th, 2019, Defendant Stephanie Brooke Dailey negligently

         caused an automobile accident with Plaintiff, which resulted in severe injuries and damages

         to Plaintiff (hereinafter “subject accident”). The negligence of Defendant Stephanie Brooke

         Dailey is alleged more fully below. The subject accident was the proximate cause of the

         injuries and damages sustained by Plaintiff, which are set forth more fully below.

         9.       At all times relevant hereto, Plaintiff held an insurance policy issued by DEFENDANT

         GEICO COUNTY MUTUAL INSURANCE COMPANY, bearing the policy number -1512086

         (hereinafter “subject policy”). The subject policy provides Under-insured Motorist Bodily

         Injury Protection and Medical Payment coverage. Plaintiff timely informed GEICO County

         Mutual Insurance Company of her intention to seek benefits under the Under-insured

         Motorist Bodily Injury Protection and Medical Payment coverages of the subject policy.

         Plaintiff is a valid “covered person” under the subject policy. The injuries and damages

         sustained by Plaintiff are not the result of intentional acts, but were caused by unavoidable

         events set into motion by the negligence of Defendant Stephanie Brooke Dailey. Plaintiff

         hereby makes a claim for these benefits.

                                          CAUSE OF ACTION
         10.      DEFENDANT STEPHANIE BROOKE DAILEY proximately caused the subject accident by

PLAINTIFF’S ORIGINAL PETITION
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         ways including, but not limited to, the following when she:

                  (a)      Failed to use the due care and caution of an ordinary and prudent person in
                           the same or similar circumstances;

                  (b)      Failed to take proper evasive action;

                  (c)      Failed to keep a proper look-out;

                  (d)      Failed to timely apply her vehicle’s brakes;

                  (e)      Failed to completely stop her vehicle at a red light and yield the right of way
                           to Plaintiff, which constitutes negligence per se (V.T.C.A., Transp. Code §§
                           544.004 and 544.007); and

                  (f)      Committed other negligent acts and omissions to be determined during the
                           course of discovery.
         11.      The above referenced acts and omissions, whether taken singularly or in concert,

         constitute a direct and proximate cause of the injuries and damages sustained by Plaintiff.

         Furthermore, this conduct violates the Transportation Code of Texas as specified above,

         which constitutes negligence per se.

         12.      Defendant Advanced Auto Parts knowingly caused a motor vehicle to be operated by

         an unlicensed and unskilled driver, which violates Texas Transportation Code §521.458 and

         constitutes negligence which was a proximate cause of the occurrence in question.

                                                 DAMAGES
         13.      As a direct and proximate result of the negligent acts as described above, PLAINTIFF

         LUZ OFELIA MLETZKO suffered:

                  (a)      Physical pain and suffering and mental anguish, past and future;

                  (b)      Physical impairment and disfigurement, past and future;

                  (c)      Reasonable and necessary medical expenses, past and future;

                  (d)      Lost wages and/or loss of wage earning capacity; and

                  (e)      Other damages;

         14.      PLAINTIFF LUZ OFELIA MLETZKO seeks compensation in whatever amount the Jury

         determines to be fair and reasonable based upon the evidence, and in an amount that is within

PLAINTIFF’S ORIGINAL PETITION
PAGE 3 OF 5
              Case 3:20-cv-00205-DB Document 1 Filed 07/11/20 Page 12 of 35



         the jurisdictional limits of this Court over $1,000,000.00.

         15.      Furthermore, Plaintiff seeks recovery for all damages listed above as well as recovery

         of attorneys fees from Defendant GEICO County Mutual Insurance Company.

                                             JURY REQUEST
         Plaintiff requests a Trial by Jury on all issues as set forth herein above.

                                     REQUESTS FOR DISCLOSURE
         Pursuant to Rule 194, Defendants are requested to disclose within the time period set forth

in Rule 194.3 the information or material described in Rule 194.2(a)-194.2(l).

                                           TRCP 193.7 NOTICE
         This paragraph serves as notice under Tex. R. Civ. P. 193.7 that documents produced in

response to written discovery requests served by plaintiff will be used against the producing party

in any pretrial proceeding and/or trial.

                                                PRAYER
         WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that Defendants

Stephanie Brooke Dailey, Advance Auto Parts and GEICO County Mutual Insurance Company be

cited to appear and answer, and that on final trial, judgment be entered against Defendants for all

relief requested as follows:

         1.       Judgment against Defendants for actual damages in an amount that is within the
                  jurisdictional limits of this Court over $1,000,000.00;

         2.       Pre and post-judgment interest, as described by law, until paid;

         3.       Attorneys fees from Defendant GEICO County Mutual Insurance Company;

         4.       Costs of suit;

         5.       Such other and further relief, general and special, at law or at equity, to which
                  Plaintiff may be justly entitled.




PLAINTIFF’S ORIGINAL PETITION
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                                            Respectfully Submitted,

                                            JAMES KENNEDY, P.L.L.C.
                                            6216 Gateway Blvd. East
                                            El Paso, Texas 79905
                                            (915) 544-5200
                                            FAX (915) 532-2423

                                      By:   /s/James B. Kennedy, Jr.
                                            JAMES B. KENNEDY, JR.
                                            State Bar No.: 00791014




PLAINTIFF’S ORIGINAL PETITION
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                      EXHIBIT 2
El Paso County - County Case  3:20-cv-00205-DB
                        Court at Law 3             Document 1 Filed 07/11/20 Page 15Filed
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                                                                                                    Norma Favela Barceleau
                                                                                                               District Clerk
                                                                                                            El Paso County
                                                                                                            2020DCV1548
                                              CAUSE NO. 2020DCV1548

             LUZ OFELIA MLETZKO,                            §       IN THE COUNTY COURT AT LAW
               Plaintiff,                                   §
                                                            §
             v.                                             §
                                                            §                                          NO. 3
             STEPHANIE BROOKE DAILEY,                       §
             ADVANCE AUTO PARTS, AND                        §
             GEICO COUNTY MUTUAL                            §
             INSURANCE COMPANY,                             §
               Defendants.                                  §                EL PASO COUNTY, TEXAS

                                             NOTICE OF APPEARANCE

                   Attorneys Matthew T. McLain and Emily P. Hollenbeck, and the law firm Litchfield Cavo,

            LLP, serve their Notice of Appearance as counsel on behalf of Defendant Stephanie Brooke Dailey

            in the above-styled action. It is requested that all pleadings, discovery, correspondence and other

            communications regarding this case be directed to this firm, on behalf of Defendant, through

            undersigned counsel.


                                                                 Respectfully submitted,


                                                                 /s/ Matthew T. McLain____________
                                                                 Matthew T. McLain
                                                                 State Bar No. 24046401
                                                                 mclain@litchfieldcavo.com
                                                                 Emily P. Hollenbeck
                                                                 State Bar No. 24062786
                                                                 hollenbeck@litchfieldcavo.com

                                                                 LITCHFIELD CAVO, LLP
                                                                 100 Throckmorton St., Ste. 500
                                                                 Fort Worth, Texas 76102
                                                                 Telephone: (817) 945-8025
                                                                 Facsimile: (817) 753-3232

                                                                 ATTORNEYS FOR DEFENDANT
                                                                 STEPHANIE BROOKE DAILEY




            Notice of Appearance                                                                        Page 1
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                                    CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Notice of Appearance has been served upon

counsel of record for all parties to this proceeding by virtue of the Court’s Electronic Filing System

and notification on this 29th day of June, 2020.



                                                      Matthew T. McLain __________________
                                                      Counsel for Defendant




Notice of Appearance                                                                          Page 2
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                      EXHIBIT 3
El Paso County - County Case  3:20-cv-00205-DB
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                                                                                                                 District Clerk
                                                                                                              El Paso County
                                                                                                              2020DCV1548
                                              CAUSE NO. 2020DCV1548

             LUZ OFELIA MLETZKO,                            §        IN THE COUNTY COURT AT LAW
               Plaintiff,                                   §
                                                            §
             v.                                             §
                                                            §                                            NO. 3
             STEPHANIE BROOKE DAILEY,                       §
             ADVANCE AUTO PARTS, AND                        §
             GEICO COUNTY MUTUAL                            §
             INSURANCE COMPANY,                             §
               Defendants.                                  §                 EL PASO COUNTY, TEXAS

                  DEFENDANT STEPHANIE BROOKE DAILEY’S FIRST AMENDED ANSWER

                   Defendant, Stephanie Brooke Dailey (hereinafter “Stephanie Dailey”), files her First

            Amended Answer to Plaintiff’s Original Petition and would show as follows:

                                              1.        GENERAL DENIAL

                   Stephanie Dailey denies all allegations in Plaintiff’s Original Petition and asserts a general

            denial as authorized by Rule 92 of the Texas Rules of Civil Procedure.

                                                   2.      DEFENSES

                   Stephanie Dailey asserts the following defenses:

                   A.     In the unlikely event Plaintiff is adjudged to be entitled to any damages in this

                          matter, which is denied, Plaintiff is not entitled to recover prejudgment interest on

                          any future damages.

                   B.     In the event that Plaintiff seeks to recover damages for medical costs, such damages

                          are only recoverable to the extent allowed by section 41.0105 of the Texas Civil

                          Practice & Remedies Code.

                   C.     Stephanie Dailey reserves the right to amend or supplement this answer as allowed

                          by the Texas Rules of Civil Procedure.




            Defendant Stephanie Brooke Dailey’s First Amended Answer                                     Page 1
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                          3.      NOTICE OF USE OF DOCUMENTS

       Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Stephanie Dailey hereby

gives actual notice to Plaintiff that any and all documents and materials produced in response to

written discovery may be used as evidence in this case; and, that any such materials may be used

as evidence against the party producing the document at any pretrial proceeding and/or at the trial

of this matter without the necessity of authenticating the document and/or materials produced in

discovery.

                                         4.      PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant, Stephanie Dailey, prays that

Plaintiff’s claims against her be dismissed, that Plaintiff takes nothing at trial, and for all such

further relief to which she may be justly entitled.

                                                      Respectfully submitted,


                                                      /s/ Matthew T. McLain____________
                                                      Matthew T. McLain
                                                      State Bar No. 24046401
                                                      mclain@litchfieldcavo.com
                                                      Emily P. Hollenbeck
                                                      State Bar No. 24062786
                                                      hollenbeck@litchfieldcavo.com

                                                      LITCHFIELD CAVO, LLP
                                                      100 Throckmorton St., Ste. 500
                                                      Fort Worth, Texas 76102
                                                      Telephone: (817) 945-8025
                                                      Facsimile: (817) 753-3232

                                                      ATTORNEYS FOR DEFENDANT
                                                      STEPHANIE BROOKE DAILEY




Defendant Stephanie Brooke Dailey’s First Amended Answer                                     Page 2
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                                    CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Notice of Appearance has been served upon

counsel of record for all parties to this proceeding by virtue of the Court’s Electronic Filing System

and notification on this 29th day of June, 2020.



                                                      Matthew T. McLain __________________
                                                      Counsel for Defendant




Defendant Stephanie Brooke Dailey’s First Amended Answer                                      Page 3
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                                                                                                      Norma Favela Barceleau
                                                                                                                 District Clerk
                                                                                                              El Paso County
                                                                                                              2020DCV1548
                                               CAUSE NO. 2020DCV1548

             LUZ OFELIA MLETZKO,                             §       IN THE COUNTY COURT AT LAW
               Plaintiff,                                    §
                                                             §
             v.                                              §
                                                             §                                           NO. 3
             STEPHANIE BROOKE DAILEY,                        §
             ADVANCE AUTO PARTS, AND                         §
             GEICO COUNTY MUTUAL                             §
             INSURANCE COMPANY,                              §
               Defendants.                                   §                 EL PASO COUNTY, TEXAS

                        DEFENDANT ADVANCE AUTO PARTS, INC.’S ORIGINAL ANSWER

                    Defendant Advance Auto Parts, Inc., incorrectly named as Advanced Auto Parts, files this

            Original Answer and would show as follows:

                                                    1. GENERAL DENIAL

                    Advance Auto Parts, Inc. asserts a general denial as authorized by Rule 92 of the Texas

            Rules of Civil Procedure. Advance Auto Parts, Inc. denies all the allegations in Plaintiff’s Original

            Petition.

                                                       2. DEFENSES

                    Advance Auto Parts, Inc. asserts the following defenses:

                    A.     In the unlikely event Plaintiff is adjudged to be entitled to any damages in this

                           matter, which is denied, Plaintiff is not entitled to recover prejudgment interest on

                           any future damages.

                    B.     In the event that Plaintiff seeks to recover damages for medical costs, such damages

                           are only recoverable to the extent allowed by section 41.0105 of the Texas Civil

                           Practice & Remedies Code.

                    C.     Advance Auto Parts, Inc. reserves the right to amend or supplement this answer as

                           allowed by the Texas Rules of Civil Procedure.


            ____________________________________________________________________________
            Defendant Advance Auto Parts, Inc.’s Original Answer                    pg. 1
          Case 3:20-cv-00205-DB Document 1 Filed 07/11/20 Page 23 of 35




                               3. NOTICE OF USE OF DOCUMENTS

        Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Advance Auto Parts, Inc.

hereby gives actual notice to Plaintiff that any and all documents and materials produced in

response to written discovery may be used as evidence in this case; and, that any such materials

may be used as evidence against the party producing the document at any pretrial proceeding

and/or at the trial of this matter without the necessity of authenticating the document and/or

materials produced in discovery.

                                               4. PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant Advance Auto Parts, Inc. prays

that Plaintiff’s claims be dismissed, that Plaintiff take nothing at trial, and for all such further relief

to which it may be justly entitled.



                                                         Respectfully submitted,


                                                         /s/ Matthew T. McLain_______
                                                         Matthew T. McLain
                                                         Texas Bar No. 24046401
                                                         mclain@litchfieldcavo.com
                                                         Emily P. Hollenbeck
                                                         Texas Bar No. 24062786
                                                         hollenbeck@litchfieldcavo.com

                                                         LITCHFIELD CAVO, LLP
                                                         100 Throckmorton St., Ste. 500
                                                         Fort Worth, Texas 76102
                                                         Telephone: 817-945-8025
                                                         Facsimile: 817-753-3232

                                                         ATTORNEYS FOR DEFENDANT
                                                         ADVANCE AUTO PARTS, INC.




____________________________________________________________________________
Defendant Advance Auto Parts, Inc.’s Original Answer                    pg. 2
          Case 3:20-cv-00205-DB Document 1 Filed 07/11/20 Page 24 of 35




                                CERTIFICATE OF SERVICE

        I hereby certify that I have caused a true and correct copy of the foregoing instrument to

be served upon Plaintiff’s counsel of record herein via electronic service on this 9th day of July,

2020.


                                                      /s/ Matthew T. McLain
                                                     Counsel for Defendant Advance Auto Parts,
                                                     Inc.




____________________________________________________________________________
Defendant Advance Auto Parts, Inc.’s Original Answer                    pg. 3
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                      EXHIBIT 5
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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

 LUZ OFELIA MLETZKO,                            §
   Plaintiff,                                   §
                                                §
 v.                                             §
                                                §        CASE NO.__________________
 STEPHANIE BROOKE DAILEY,                       §
 ADVANCE AUTO PARTS, AND                        §
 GEICO COUNTY MUTUAL                            §
 INSURANCE COMPANY,                             §
   Defendants.                                  §

                ADVANCE AUTO PARTS, INC.’S CONSENT TO REMOVAL

         Defendant Advance Auto Parts, Inc. hereby consents to the removal of this action from the

El Paso County Court at Law No. 3 to the United States District Court for the Western District of

Texas.

         Dated this 11th day of July 2020.

                                              Respectfully submitted,


                                               /s/ S. Jan Hueber
                                              Matthew T. McLain (motion for pro hac admission
                                              to be filed)
                                              Texas Bar No. 24046401
                                              mclain@litchfieldcavo.com
                                              S. Jan Hueber
                                              Texas Bar No. 20331150
                                              hueber@litchfieldcavo.com
                                              Emily P. Hollenbeck (motion for pro hac admission
                                              to be filed)
                                              Texas Bar No. 24062786
                                              hollenbeck@litchfieldcavo.com

                                              LITCHFIELD CAVO, LLP
                                              100 Throckmorton St., Ste. 500
                                              Fort Worth, Texas 76102
                                              (817) 945-8025 (P)
                                              (817) 753-3232 (F)

_____________________________________________________________________________________
Advance Auto Parts, Inc.’s Consent to Removal                                         Page 1 of 2
         Case 3:20-cv-00205-DB Document 1 Filed 07/11/20 Page 27 of 35




                                          ATTORNEYS FOR DEFENDANT
                                          ADVANCE AUTO PARTS, INC.




_____________________________________________________________________________________
Advance Auto Parts, Inc.’s Consent to Removal                              Page 2 of 2
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                      EXHIBIT 6
El Paso County - County Case
                        Court at3:20-cv-00205-DB
                                 Law 3           Document 1 Filed 07/11/20 Page 29  of 6/15/2020
                                                                                 Filed 35        10:48 PM
                                                                                          Norma Favela Barceleau
                                                                                                     District Clerk
                                              THE STATE OF TEXAS                                  El Paso  County
                                                                                                   2020DCV1548
               NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney do not
      file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration of
      twenty days after you were served this citation and petition, a default judgment may be taken against you."

      TO: STEPHANIE BROOKE DAILEY,who may be served with process at 263 WHITE OAK RD.,APT.D,
      CLARKSVILLE,TN 37040-8669 or anywhere he/she may be found.

      Greetings:
               You are hereby commanded to appear by filing a written answer to the Plaintiff's Original Petition at or before
      ten o'clock A.M. of the Monday next after the expiration of twenty days after the date of service of this citation before the
      Honorable County Court at Law Number 3, El Paso County, Texas, at the Court House of said County in El Paso,
      Texas.
               Said Plaintiff's Petition was filed in said court on the 11th day of May, 2020, by Attorney at Law JAMES B.
      KENNEDY, 6216 GATEWAY BLVD EAST, EL PASO, TX 79905 in this case numbered 2020DCV1548 on the docket of
      said court, and styled:
                                        LUZ OFELIA MLETZKO
                                                VS
       STEPHANIE BROOKE DAILEY,ADVANCE AUTO PARTS AND GEICO COUNTY MUTUAL INSURANCE COMPANY

               The nature of Plaintiff's demand is fully shown by a true and correct copy of the Plaintiff's Original Petition,
      Plaintiff's Interrogatories, Requests for Disclosure, Requests for Admission and Requests for Production to
      Defendant Stephanie Brooke Dailey accompanying this citation and made a part hereof.

              The officer executing this writ shall promptly serve the same according to requirements of law, and the mandates
      thereof, and make due return as the law directs.

               Issued and given under my hand and seal of said Court at El Paso, Texas,on the 3 rd day of June,2020

      Attest: NORMA FAVELA BARCELEAU, District Clerk, El Paso County, Texas.

                                CLERK OF THE COURT                 0
                       NORMA FAVELA BARCELEAU
                                  District Clerk
                          El Paso County Courthouse
                       500 E.San Antonio Ave, RM 103
                             El Paso Texas, 79901                        By                                             Deputy
                                    ATTACH                                                Veronica Cables
                              RETURN RECEIPTS
                                      WITH
                                                                              CERTIFICATE OF DELIVERY BY MAIL
                         ADDRESSEE'S SIGNATURE
               Rule 106 (a)(2) the citation shall be served by          I hereby certify that on the  day of
               mailing to the defendant by Certified Mail Return       jU)A2&6 at 'S.:Oinfhl. I mailed to
               receipt requested, a true copy of the citation.          STePNANiE. Bikcywit. DAILE\i
               Sec.17.027 Rules of Civil Practice and                                                                defendant(s)
                                                                        by registered mail or certified mail with delivery
               Remedies Code if not prepared by Clerk of
                                                                        restricted to addressee only, return receipt requested,
               Court.                                                   a true copy of this citation with a copy of Plaintiff's
                                            ROMS StkV1),                Original Petition, Plaintiff's Interrogatories,
                                                                        Requests for Disci ure, Requests for Admission
                0A..1
               *NAME OF PRE PARER

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                                                         TITLE
                                                                        and Requests for r uction to Defendant
                                                                        Stepha Mp Bro            iley attached thereto.

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                     Case 3:20-cv-00205-DB Document 1 Filed 07/11/20 Page 30 of 35

                                                        RETURN OF SERVICE


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attached hereto.
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                                                                                   OR
                                                                                        #7253               8/311262-1
                                                                        Name • Authorized Person

                                                               By: .0   -6 -EL ArtJ




                                              VERIFICATION BY AUTHORIZED PERSON

State of Texas
County of El Paso
        Before me,a notary public, on this day personally appeared        -T-05E1_,PA\tiAN      , known to me to be the person
whose name is subscribed to the foregoing Return of Service, and being by me first duly sworn, declared, "I am
disinterested party qualified to make an oath of that fact and statements contained in the Return of Service and true and
correct."


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                    "). —  *° My Notary ID # 10192686
            ...s..
            "---1 *.n .   -t- Expires October 29,2022
                                                                                 Notary Public, State of    I         S
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         Case 3:20-cv-00205-DB Document 1 Filed 07/11/20 Page 31 of 35




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     so that we can return the card to you.
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■    Attach this card to the back of the mailpiece,
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     or on the front if space permits.
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                      EXHIBIT 7
          Case 3:20-cv-00205-DB Document 1 Filed 07/11/20 Page 34 of 35




                                   CAUSE NO. 2020DCV1548
 LUZ OFELIA MLETZKO,                             §        IN THE COUNTY COURT AT LAW
   Plaintiff,                                    §
                                                 §
 v.                                              §
                                                 §                                            NO. 3
 STEPHANIE BROOKE DAILEY,                        §
 ADVANCE AUTO PARTS, AND                         §
 GEICO COUNTY MUTUAL                             §
 INSURANCE COMPANY,                              §
   Defendants.                                   §                 EL PASO COUNTY, TEXAS


                STEPHANIE BROOKE DAILEY’S NOTICE OF REMOVAL

       Please take notice that on July 11, 2020, Defendant Stephanie Brooke Dailey filed in the

United States District Court for the Western District of Texas her Notice of Removal. A copy of

that Notice of Removal (without exhibits) is attached as Exhibit “A”. Please take further notice

that, pursuant to 28 U.S.C. § 1446, the filing of that Notice of Removal in the United States District

Court, together with the filing of a copy of the Notice of Removal with this Court, effects the

removal of this action, and the above-captioned Court may proceed no further unless and until the

case is remanded.

                                               Respectfully submitted,


                                                /s/ Matthew T. McLain
                                               Matthew T. McLain
                                               State Bar No. 24046401
                                               mclain@litchfieldcavo.com
                                               S. Jan Hueber
                                               State Bar No. 20331150
                                               hueber@litchfieldcavo.com
                                               Emily P. Hollenbeck
                                               State Bar No. 24062786
                                               hollenbeck@litchfieldcavo.com

                                               LITCHFIELD CAVO, LLP
                                               100 Throckmorton St., Ste. 500
______________________________________________________________________________
Defendant Stephanie Brooke Dailey’s Notice of Removal                Page 1 of 2
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                                             Fort Worth, Texas 76102
                                             (817) 945-8025 (P)
                                             (817) 753-3232 (F)

                                             ATTORNEYS FOR DEFENDANT
                                             STEPHANIE BROOKE DAILEY


                                   CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument was served on this

the 11th day of July 2020, on all counsel of record, in accordance with the Texas Rules of Civil

Procedure.


                                                      /s/ Matthew T. McLain
                                                     Counsel for Defendant Stephanie Brooke
                                                     Dailey




______________________________________________________________________________
Defendant Stephanie Brooke Dailey’s Notice of Removal                Page 2 of 2
